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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



RUTH ROJAS DUARTE,
                                                  15-CV-6824 (PGG)
                                  Plaintiff,

                   - against -

ST. BARNABAS HOSPITAL,

                                  Defendant.




         DECLARATION OF MEGAN S. GODDARD, ESQ. IN OPPOSITION TO
                    DEFENDANT’S MOTION IN LIMINE
       MEGAN S. GODDARD, ESQ. hereby declares subject to the penalties of perjury

pursuant to 28 U.S. C. § 1746:

       1.       I am admitted to practice in the courts of the State of New York and am a member

of the Bar of this Court. I am of counsel to Nesenoff & Miltenberg, LLP, attorneys for the

plaintiff, Ruth Rojas Duarte (“Plaintiff”).



       2.       I am fully familiar with the facts and circumstances set forth below based upon

my personal knowledge of the case and my review of the file maintained by Nesenoff &

Miltenberg, LLP.
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              3.               I submit this declaration in opposition of Defendant’s Motion in Limine and in

order to identify the papers being submitted and the exhibits being relied upon1 by Plaintiff in

support of the instant motion:

                             (a)            Plaintiff’s Memorandum of Law in Opposition to Defendant’s Motion in

              Limine, and

                             (b)            The following Exhibits, each of which was submitted to and filed with the

              Court as part of the January 2, 2018 Joint Pre Trial Order.

                                            a. PX-12 (Dkt. 73, Attachment #2);

                                            b. PX-13 (Dkt. 73, Attachment #3);

                                            c. PX-14 (Dkt. #73, Attachment #4);

                                            d. PX-15 (Dkt. #73, Attachment #5); and

                                            e. PX-17 (Dkt. #73, Attachment #7).

              WHEREFORE, the Court should grant Plaintiff’s Motions in Limine and any and all

other further relief the Court deems appropriate.



              I declare under the penalty of perjury that the foregoing is true and correct, pursuant to

Title 28, United States Code, Section 1746.

Dated: New York, New York
      January 4, 2018
                                                                                 Respectfully submitted,
                                                                                 Megan Goddard, Esq.
                                                                                 __________/S__________________
                                                                                 By: Megan S. Goddard



																																																													
1
 Due to the January 4, 2018 Snowstorm, Plaintiff’s counsel is working from home and does not have a scanner to
again upload the Exhibits, which were filed with the JPTO, however, if the Court prefers to have another copy of the
exhibits filed, Plaintiff’s counsel will provide an additional Declaration with the exhibits attached.
